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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,
v.                                                            CASE NO. 1:88-cr-01007-MP-AK

RICHARD KEITH WILLIAMS,

      Defendant.
___________________________/

                                           ORDER

       This matter is before the Court on Doc. 1060, Report and Recommendation of Magistrate

Judge Kornblum, recommending that Defendant's Petition to Vacate Under 28 U.S.C. § 2255,

Doc. 1058, and Defendant's Motion for Appropriate Relief Pursuant to 28 U.S.C. § 2255, Doc.

1059, be denied. The Magistrate Judge filed the Report and Recommendation Friday, July 15,

2005. The parties have been furnished a copy of the Report and Recommendation and have been

afforded an opportunity to file objections. Pursuant to Title 28, United States Code, Section

636(b)(1), this Court must make a de novo review of those portions to which an objection has

been made. In this instance, however, no objections were made. Therefore, having considered

the Report and Recommendation, I have determined that the Report and Recommendation

should be ADOPTED.

       ORDERED AND ADJUDGED:

       1.      The Magistrate Judge's Report and Recommendation is adopted and incorporated
               by reference in this order.

       2.      Defendant's Petition to Petition to Vacate Under 28 U.S.C. § 2255, Doc. 1058, is
               DENIED.

       3.      Defendant's Motion for Appropriate Relief Pursuant to 28 U.S.C. § 2255, Doc.
               1059, is DENIED.
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        DONE AND ORDERED this         19th day of August, 2005


                                    s/Maurice M. Paul
                               Maurice M. Paul, Senior District Judge




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